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                     UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                             Case No. 4:17-cv-00188-BLW

        Plaintiff,                           MEMORANDUM DECISION
                                             AND ORDER
         v.

 DILLON McCANDLESS,

        Defendant.



                               INTRODUCTION

      Before the Court is Defendant Dillon McCandless’s Motion for

Compassionate Release. Dkt. 53, 62 (renewed). The timeliness issue raised by the

Government is now moot, therefore, the Court will not address it herein. After

carefully considering the remaining issues, the Court determines that an

evidentiary hearing is not necessary on the motion. For the following reasons, the

Court will deny the motion.




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                                 BACKGROUND

      Defendant McCandless robbed the Fort Hall Sage Hill Casino with a sawed-

off shotgun that he stole from his brother. Dkt. 42. Before entering the casino,

McCandless placed a fake phone call to the police dispatch requesting that the

officer on duty at the casino investigate a suspicious vehicle away from the area.

When the officer left, McCandless entered the casino with the shotgun and a

plastic bag. He told the police that he would have shot the officer had he been

inside the casino. When demanding that the teller place money in the bag,

McCandless racked a round out of the shotgun. McCandless plead guilty to

Robbery and Use of a Firearm in Furtherance of a Crime of Violence. Dkt. 37. At

the filing of the present motion, he had served 34 months of his 105-month

sentence.

      Prior to his conviction, McCandless was diagnosed with Paranoid-

Schizophrenia. He has since been diagnosed with schizophrenia on multiple

occasions. Dkt. 64-4 at 20. McCandless has been transferred to multiple facilities

throughout his incarceration as a result of his psychiatric issues. He has refused to

take his anti-psychotic medications, been placed on suicide watch for threatening

to kill himself, expressed irrational thoughts to his family of being poisoned, and

claimed he heard a woman’s voice speaking to him in his cell. McCandless also

suffers from hypertension and obesity. He sent a compassionate release request to


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both the warden at FCI Sheridan and FCI Butner. The home confinement request

was denied because the BOP requires an inmate to have served at least 50% of his

sentence, and McCandless has a high recidivism risk score and multiple incident

reports. Dkt. 64-3 at 3.

       In the present motion, McCandless moves under 18 U.S.C. § 3582(c)(1)(A)

for a sentence reduction on the grounds that he is not able to receive proper

treatment for his mental health issues and is at risk of the threat posed by the

COVID-19 pandemic. Dkt. 53, 62.

                                 LEGAL STANDARD

       A motion for compassionate release may be made by either the Director of

the Bureau of Prisons or by a defendant who has fully exhausted administrative

remedies within the Bureau of Prisons. 1 In order to modify a sentence and grant

compassionate release, a district court must engage in a three-step process. First, it

must consider the 18 U.S.C. § 3553(a) factors. Second, the court must find that

“extraordinary and compelling reasons warrant such a reduction.” See 18 U.S.C. §

3582(c)(1)(A). The Sentencing Commission has determined that “extraordinary




1
 Section 3582 was amended by the First Step Act of 2018, PL 115-391, Dec. 21, 2018. 132 Stat
5194. Prior to this amendment, the Court could only reduce a sentence of imprisonment upon a
motion of the Director of the Bureau of Prisons.



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and compelling reasons” to release a defendant from BOP custody include (1)

medical conditions which diminish the ability of the defendant to provide self-care

in prison, (2) age-related deterioration, (3) family circumstances, and (4) other

extraordinary and compelling reasons that exist either separately or in combination

with the previously described categories.2 USSG § 1B1.13. Third, the Court must

find that “the defendant is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g).” 18 U.S.C. § 3582(c)(1)(A).

                                        ANALYSIS
       A.     Extraordinary and Compelling Reasons to Warrant a Reduction

       The standard of “extraordinary and compelling reasons” warranting a

sentence reduction is met if the defendant is:

              (I) suffering from a severe physical or medical condition
              (II) suffering from a serious function or cognitive impairment, or
              (III) experiencing deteriorating physical or mental health because of
              the aging process,

       that substantially diminishes the ability of the defendant to provide self-care
       within the environment of a correctional facility and from which he or she is
       not expected to recover.




2
 U.S.S.G. § 1B1.13 has not been amended since the First Step Act to reflect that both defendants
and the BOP may move for compassionate release. However, “courts have universally turned to
U.S.S.G. § 1B1.13 to provide guidance on the ‘extraordinary and compelling reasons that may
warrant a reduction in sentence.” United States v. Gonzales, WL 1536155 at *2 (E.D. Wash Mar.
31, 2020).



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USSG § 1B1.13, cmt. n.1(A)(ii).

               1.      Susceptibility to COVID-19

       McCandless’s obesity and hypertension make him more susceptible to the

COVID-19 virus.3 McCandless is currently housed in FCI Butner, where 208

inmates and 13 staff have tested positive for COVID-19 as of April 29, 2020.

Though the BOP has implemented a COVID-19 Action Plan, the Court recognizes

that, despite the best efforts of BOP officials, the likelihood of contracting the virus

is greater in prison than if a defendant were able to fully self-isolate at home. 4

However, as explained below, the other circumstances surrounding McCandless’s

incarceration and the inadequacy of the proposed release plan weigh against a

finding of an extraordinary and compelling reason warranting a sentence reduction.

               2.      Mental Health Issues

       In addition, McCandless suffers from severe mental health issues. In the




       3
        See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medicalconditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2
F2019- ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (last updated July 17,
2020).
       4
         “Prisons are epicenters for infectious disease because of the higher background
prevalence of infection, the higher levels of risk factors for infection, the unavoidable close
contact in often overcrowded, poorly ventilated, and unsanitary facilities, and the poor access to
health-care services relative to that in community settings.” Stuart A. Kinner, et. Al., Prisons and
custodial settings are part of a comprehensive response to COVID-19, THE LANCET (Mar. 17,
2020), https://www.thelancet.com/journals/lanpub/artcile/PIIS2468-2667(20)30058-Xfulltext.



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Investigation Report, the Probation Officer Katie Hedrick reported that

McCandless regularly experiences hallucinations and has issues with fighting and

anger. Dkt. 64-2 at 3. McCandless was also considered at risk for suicide, and his

father reported that he appeared incoherent during a phone call. Id. However

Hedrick also found that, though the medical staff made a very serious effort to

convince McCandless to engage in mental health treatment, he has refused

treatment on multiple occasions. Id. at 3–4. He refused to take a higher dosage of

medication as required by clinical staff, and declined any antipsychotic medication

treatment. Id. at 4. The clinical staff noted, “he will likely be considered for

admission to an FMC (federal medical center) for consideration of forced

medication.” Id.

      Further, Hedrick concluded that the proposed plan for McCandless’s release

is “riddled with unknowns and is not sufficient to meet the very serious needs of

the defendant.” Id. at 5. McCandless’s mother reported that McCandless would be

admitted to State Hospital South in Blackfoot for three to six months until he is

stable, after which he will be closely monitored by his parents and other family

members. Id. at 2. Though well-intentioned, Mrs. McCandless’s understanding of

the hospital admission process did not align with the information reported by the

administrator of the hospital. Id. In order to be committed to the hospital,




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McCandless would need to be hospitalized in a mental health unit and deemed

Dangerously Mentally Ill – a designation only given to patients who are gravely

disabled and suicidal or homicidal in nature). Id. The hospital also has not accepted

a voluntary patient in several years given the standing waitlist for involuntary

patients. Moreover, the average stay at the facility is only 35 days. Id. Finally, the

Court is not convinced that McCandless’s family members would be able to

adequately supervise him. Before the casino robbery, Mrs. McCandless noticed the

decline in her son’s mental health and attempted to help him, yet she was unable to

stop him from committing the crime. Dkt. 42.

      Despite the severity of McCandless’s mental health issues, the Bureau of

Prisons shows a willingness to attend to McCandless’s mental health needs and is

capable of meeting those needs should he cooperate. Moreover, if he continues to

refuse to cooperate, the BOP is in a better position to address his needs than his

parents.

      B.       Danger to the Community and § 3553(a) Sentencing Factors

      The Sentencing Guidelines instruct that a request for compassionate release

may only be granted if “the defendant is not a danger to the safety of any other

person or to the community, provided in 18 U.S.C. § 3142(g).” USSG § 1B1.13.

The §3553(a) sentencing factors are also applicable in this analysis. See §




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3582(c)(1)(A).

      Here, both the danger posed by McCandless and the § 3553(a) sentencing

factors weigh against a grant of compassionate release. McCandless was

categorized as having a “high risk of recidivism” and deemed as posing the

“greatest severity” of risk to public safety. Dkt. 64-2 at 3. He committed a violent

crime – robbery with a firearm – and stated his willingness to kill a police officer

should one have been at the scene. At this time, he has only served approximately

40 months of his 105-month sentence. Moreover, McCandless has accrued a

lengthy disciplinary record while in BOP custody and has a history of violence.

See Dkt. 64-2 at 4–5. On separate occasions, he poured gasoline on the floor of his

parents’ house and lit it on fire, assaulted his father, and threatened to stab his

mother with a screwdriver. Dkt. 42 at 10-11. The proposed release plan involves

placing McCandless back in the same environment in which these violent outbursts

and the crime for which he is currently incarcerated occurred.

                                   CONCLUSION

      For the foregoing reasons, the Court finds that, despite his increased risk of

contracting COVID-19 and the severity of his mental health issues, McCandless

has not met the requirements necessary to warrant a reduction of his sentence. The

Court will deny the motion.




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                                    ORDER

     IT IS ORDERED that Defendant’s Motion for Compassionate Release

(Dkt. 53, 62) is DENIED.

                                        DATED: August 3, 2020


                                        _________________________
                                        B. Lynn Winmill
                                        U.S. District Court Judge




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